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                                                                               December 10, 2020

        VIA ECF
        The Honorable Lewis A. Kaplan
        United States District Court
        Southern District of New York
        Daniel Patrick Moynihan
        United States Courthouse
        500 Pearl Street
        New York, New York 10007

                 Re:     Carroll v. Trump, 1:20-cv-07311 (LAK)

        Dear Judge Kaplan:

                We represent President Donald J. Trump in the above-referenced action. I submit this
        letter motion to respectfully request that this Court immediately stay all proceedings. As shown
        below, the Court has been divested of jurisdiction during the appeals to the United States Court
        of Appeals for the Second Circuit from this Court’s October 27, 2020 Opinion and Order (the
        “Order”) (ECF No. 32) denying the United States’ motion, pursuant to the Westfall Act, 28
        U.S.C. § 2679(d)(2), to substitute as the defendant in place of President Trump.

                On November 25, 2020, the United States and the President both filed notices of appeal
        from the Order. (ECF Nos. 45-46.) As the Supreme Court has held, “[t]he filing of a notice
        of appeal is an event of jurisdictional significance -- it confers jurisdiction on the court of appeals
        and divests the district court of its control over those aspects of the case involved in the appeal.”
        Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58, 103 S. Ct. 400, 402 (1982); see
        also Abrahams v. Inc. Vill. of Hempstead, 390 F. App’x 4, 5 (2d Cir. 2010) (summary order) (“A
        notice of appeal divests a district court of jurisdiction.”).

                 Here, all “aspects of the case” are “involved in the appeal” because the Order’s “rejection
        of certification and substitution effectively denied [defendant] the protection afforded by the
        Westfall Act, a measure designed to immunize covered federal employees not simply from
        liability, but from suit.” Osborn v. Haley, 549 U.S. 225, 238, 127 S. Ct. 881, 892 (2007)
        (emphasis added);1 see also Behrens v. Pelletier, 516 U.S. 299, 308, 116 S. Ct. 834, 839 (1996)


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                 The Supreme Court held that that such an order is immediately appealable “as a reviewable final decision
        within the compass of 28 U.S.C. § 1291” pursuant to the collateral order doctrine, because the order “conclusively
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(immunity “is meant to give government officials a right, not merely to avoid ‘standing trial,’ but
also to avoid the burdens of ‘such pretrial matters as discovery’” (emphasis in original));
Mitchell v. Forsyth, 472 U.S. 511, 526, 105 S. Ct. 2806, 2815 (1985) (immunity constitutes “an
entitlement not to stand trial or face the other burdens of litigation”); Harlow v. Fitzgerald, 457
U.S. 800, 818, 116 S. Ct. 834, 839 (1982) (holding that discovery should not proceed until
“threshold immunity question” is resolved); Locurto v. Safir, 264 F.3d 154, 164 (2d Cir. 2001)
(“denials of immunity are conclusive with regard to a defendant's right to avoid pre-
trial discovery” (emphasis in original) (citation omitted)).

        Numerous district courts, including in this District, have recognized and applied these
principles. See, e.g., Edrei v. City of New York, No. 16 Civ. 1652 (RWS), 2017 WL 3822744, at
*3 n.2 (S.D.N.Y. Aug. 31, 2017) (recognizing district court was divested of jurisdiction pending
appeal of qualified immunity claim); In re Facebook, Inc., IPO Sec. & Derivative Litig., 42 F.
Supp. 3d 556, 558 (S.D.N.Y. 2014) (Sweet, J.) (holding that “[a]s a general rule, when an appeal
of the denial of . . . immunity is under consideration, discovery should not proceed” and rejecting
argument that divestiture is not automatic in the qualified immunity context); Bradley v. Jusino,
No. 04 Civ. 8411, 2009 WL 1403891, at *2 (S.D.N.Y. May 18, 2009) (recognizing district court
was divested of jurisdiction pending appeal of qualified immunity claim).

        Moreover, the district court is divested of jurisdiction even “[w]hen qualified immunity is
in issue” on appeal. See Garcia v. Bloomberg, No. 11 Civ. 6957(JSR), 2012 WL 3127173, at *1
(S.D.N.Y. July 27, 2012) (“discovery . . . cannot be said to be collateral [to the appeal] because
qualified immunity is an entitlement to ‘immunity from suit,’ including the right to avoid even
pre-trial discovery” (citations omitted)). Accordingly, “[t]his principle has even stronger force in
the present case, since the Westfall Act confers absolute, not merely qualified, immunity upon
federal employees . . . . ” Wuterich v. Murtha, 562 F.3d 375, 378, 382 (D.C. Cir. 2009)
(emphasis in original) (vacating district court order that “reserved judgment on certification
pending discovery” because it “effectively denied [the defendant] the absolute immunity from
suit guaranteed him by the Westfall Act”).

       Defendant therefore respectfully requests that all proceedings be immediately stayed
pending appeal.

                                                                          Respectfully submitted,
                                                                          /s/ Marc E. Kasowitz
                                                                          Marc E. Kasowitz

cc:      Counsel of Record (via ECF)




decide[s] a contested issue, the issue decided is important and separate from the merits of the action, and the District
Court’s disposition would be effectively unreviewable later in the litigation.” Id.
